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 5 Attorneys for Guo Ma

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 7

 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                      CASE NO. 2:14 –CR-00330-GEB
12                                          Plaintiff,              STIPULATION REGARDING
                                                                    EXCLUDABLE TIME PERIODS
13   v.                                                             UNDER SPEEDY TRIAL ACT;
                                                                    [PROPOSED] FINDINGS AND
14   GUO MA,                                                        ORDER
15                                          Defendant.
16

17
               Defendant Guo Ma, by and through Linda M. Parisi, his counsel of record, and plaintiff, by
18
     and through its counsel, Christiaan Highsmith, hereby stipulate as follows:
19
               1.         By previous order, this matter was set for sentencing on February 5, 2015.
20
               2.        By this stipulation, the defendant now moves to continue the sentencing hearing until
21
     March 4, 2016, at 9:00 a.m. and to exclude time between December 18, 2015 and March 4, 2016 and
22
     under Local Code T4. The United States does not oppose this request.
23
               3.        The parties agree and stipulate, and request that the Court find the following:
24
               a.        Counsel for Mr. Ma will be out of state on February 5, 2016.
25
               b.        The United States Attorney agrees to the continuance.
26
               c.        All counsel agrees to the continuance.
27

28                                                              1
          Stipulation and [Proposed] Order for Continuance of
29        Status Hearing and for Exclusion of Time

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                 Case 2:14-cr-00330-TLN Document 59 Filed 12/21/15 Page 2 of 3



 1          f.        For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.§ 3161, et

 2 seq., within which trial must commence, the time period of December 18, 2015 and March 4, 2016,

 3 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 316l(h)(7)(A), B(iv) [Local CodeT4]

 4 because it results from a continuance granted by the Court at defendant's request on the basis of the

 5 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

 6 public and the defendant in a speedy trial.

 7          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of

 8 the Speedy Trial Act dictate that additional time periods are excludable from the period within which
 9 a trial must commence.

10 Dated: December 18, 2015

11                                                               Respectfully Submitted,

12                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 ______________________________________
13
                                                                 Linda M. Parisi
14                                                               Attorney for Guo Ma

15

16 Dated: December 18, 2015                                      BENJAMIN B. WAGNER
                                                                 United States Attorney
17

18                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 _______________________________________
19                                                               Christiaan Highsmith, Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
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       Stipulation and [Proposed] Order for Continuance of
29     Status Hearing and for Exclusion of Time

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 7                                  IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA
                                                       )         Case No. 2:14 –CR-00330-GEB
11                                 Plaintiff,
                                                                 ORDER
12       v.
13
     GUO MA,
14                             Defendant.
15

16
              The status conference currently set for February 5, 2015 is vacated and the sentencing is
17

18 scheduled to commence at 9:00 a.m. on March 4, 2016.

19 Dated: December 18, 2015
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28                                                           3
       Stipulation and [Proposed] Order for Continuance of
29     Status Hearing and for Exclusion of Time

30
